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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

ROY ABRAHAM, ET AL                                                                           CIVIL ACTION

versus                                                                                       No. 04-0044

B.J. SINGH, ET AL                                                                            SECTION: I/5


                                           ORDER AND REASONS

         Before the Court is a motion, filed on behalf of defendants, Labor Consultants International,

L.L.C. ("LCI") and Terry Forrester, to reconsider this Court's order dismissing the claims of 43 of

the plaintiffs without prejudice for failure to prosecute.1 The motion is unopposed.

         On or about May 9, 2005, this Court was advised by the United States Magistrate Judge that

plaintiffs' counsel was having difficulty contacting some of his clients with respect to settlement

negotiations that were occurring with respect to plaintiffs' lawsuit against LCI and Forrester. The

Court ordered plaintiffs' counsel to provide the names and addresses of the individual plaintiffs who

he had been unable to contact. Plaintiffs' counsel timely complied, providing a list of 43 named

plaintiffs.

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           Rec. Doc. No. 100. The movants also seek reconsideration of this Court's order dismissing their motion to
dismiss as moot due to a partial settlement reached in the case, Rec. Doc. No. 98, and this Court's order dismissing
plaintiffs' claims against movants based on such settlement, Rec. Doc. No. 99. Because this Court finds that
reconsideration of the dismissal without prejudice is appropriate, reconsideration of the remaining orders is unnecessary.

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         On or about May 18, 2005, the clerk of court sent notice to the 43 plaintiffs, identified by

counsel at their last known addresses via both regular and certified mail, that this Court was ordering

those plaintiffs to appear and show cause in this Court on June 1, 2005, why their claims should not

be dismissed for failure to prosecute. At the hearing on June 1, 2005, none of the 43 plaintiffs

appeared. Thereafter, this Court entered an order dismissing those 43 plaintiffs' claims without

prejudice for failure to prosecute. LCI and Forrester now move for reconsideration of the dismissal

without prejudice in light of the settlement reached between them and the remaining plaintiffs and

their potential exposure to claims which may be re-initiated by the 43 absent plaintiffs.

         A district court may dismiss an action for failure to prosecute pursuant to Fed. R. Civ. P.

41(b):

                For failure of the plaintiff to prosecute or to comply with these rules
                or any order of court, a defendant may move for dismissal of an
                action or of any claim against the defendant. Unless the court in its
                order for dismissal otherwise specifies, a dismissal under this
                subdivision and any dismissal not provided for in this rule, other than
                a dismissal for lack of jurisdiction, for improper venue, or for failure
                to join a party under Rule 19, operates as an adjudication upon the
                merits.

Rule 41(b). The power to dismiss is an inherent power of the court. Ford v. Sharp, 758 F.2d 1018,

1021 (5th Cir. 1985); Rogers v. Kroger, 669 F.2d 317, 319-20 (5th Cir. 1982). A dismissal with

prejudice for failure to prosecute operates as an adjudication on the merits and it is reversible only

when a court has abused its discretion. Colle v. Brazos County, Texas, 981 F.2d 237, 242 (5th Cir.

1993); Ramsey v. Bailey, 531 F.2d 706, 707 (5th Cir. 1976) . In the Fifth Circuit, a dismissal with

prejudice will only be affirmed if there is a “‘clear record of delay or contumacious conduct by the

plaintiff,’...,and where lesser sanctions would not serve the best interests of justice.” Rogers, 669

F.2d at 320 (quoting Pond v. Braniff Airways, Inc., 453 F.2d 347, 349 (5th Cir. 1972)). In

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determining the propriety of a dismissal with prejudice for failure to prosecute, the Fifth Circuit also

considers whether any of the following aggravating factors exist: (1) the extent to which the

plaintiff (as distinguished from his counsel) was personally responsible for the delay, (2) the degree

of actual prejudice to the defendant, and (3) whether the delay was the result of intentional conduct.

McNeal v. Papasan, 842 F.2d 787, 790 (5th Cir. 1988); Rogers, 669 F.2d at 320; Ford, 758 F.2d

at 1021. Dismissals with prejudice that have been affirmed on appeal "illustrate that such a sanction

is reserved for the most egregious of cases, usually cases where the requisite factors of clear delay

and ineffective lesser sanctions are bolstered by the presence of at least one of the aggravating

factors." Rogers, 669 F.2d at 320 (footnotes omitted); see also Markwell v. County of Bexar, 878

F.2d 899, 902 (5th Cir. 1989) ("A dismissal with prejudice for failure to prosecute is an extreme

sanction which is to be used only when the plaintiff's conduct has threatened the integrity of the

judicial process [in a way which leaves] the court no choice but to deny that plaintiff its benefits.")

(internal quotation marks and citations omitted) (alteration in original).

       In a factually analogous case, a district court dismissed a plaintiff's action with prejudice for

failure to prosecute when the plaintiff failed to communicate with the Court or with opposing parties

for a period of over two months. Dong v. United States, 2004 WL 385117, at *3 (S.D.N.Y. March

2, 2004). In that case, the Court reasoned:

               [Plaintiff] has had no contact with either the Court or the Government
               since a Civil Court hearing on December 4, 2004, a period of over
               two months. By serving this motion, the Government has notified
               [Plaintiff] that his failure to prosecute might result in dismissal. In
               addition, the Government has already made numerous attempts to
               serve [Plaintiff] with various papers in this case. Each package has
               been returned to sender. Indeed, the very fact that [Plaintiff] has been
               inaccessible for the last two months--without notifying the Court, the
               Government, or the Pro Se Office of a change of address--strongly
               suggests that he is not diligently pursuing this claim. See Hibbert v.

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                Appel, No. 99 Civ. 4246, 2000 WL 977683, at *2 (S.D.N.Y. July 17,
                2000) (Scheindlin, J.). [Plaintiff]'s totally unexplained disappearance
                is manifestly unreasonable, see id. at *3, and therefore presumptively
                prejudices the Government. See Pearl v. City of New York, 992 F.2d
                458, 462 (2d Cir.1993) (holding that prejudice may be presumed
                where delay is unreasonable).

                Moreover, no remedy other than dismissal makes sense. Ordinarily,
                I might send [Plaintiff] a warning or order him to appear for a
                hearing, but I have no way to reach him. There is no reason for this
                case to languish on the Court's docket or to hang over the head of the
                Government if [Plaintiff] is unwilling or unable to prosecute it. For
                this reason, too, the case must be dismissed.

Id.; see also Irabor v. C.O’Neel, 1998 WL 1780650, at *2 (D.N.D.) ("[P]laintiff’s failure to

communicate with the court in any manner, including checking the status of his case or notifying

the clerk’s office of his current address, plaintiff’s failure to communicate with opposing parties or

their counsel, and plaintiff’s failure to press forward with his case for approximately 8½ months,

indicates to this Court a willful failure to prosecute the claim, thus making dismissal with prejudice

pursuant to Rule 41(b) appropriate.”).

        The record in this case supports dismissing the 43 named plaintiffs' claims against LCI and

Forrester with prejudice. Plaintiffs' willful failure to communicate with the Court and with their own

counsel for over three months, notwithstanding attempts by both this Court and plaintiffs' counsel

to initiate contact, illustrates a clear record of delay.

        Moreover, lesser sanctions would not be appropriate in this case. This Court's order to show

cause was sent to the absent named plaintiffs by both certified and regular mail. The record reflects

that some of the mail was returned as undeliverable, some of the mail was received, but none of the

plaintiffs appeared at the hearing or contacted their counsel despite counsel's attempts at reaching

the plaintiffs in order to discuss the settlement of this action and the possible dismissal of their


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claims. It is clear that further attempts to contact plaintiffs will be to no avail.

        Several aggravating factors also exist in this case. Plaintiffs' unexplained absence is directly

attributable to plaintiffs rather than their counsel, there is no suggestion that plaintiffs' absence is

anything but intentional, and there is a high degree of prejudice to defendants caused by plaintiffs'

absence. In light of the months of diligent work by counsel for plaintiffs, counsel for LCI and

Forrester, and the United States Magistrate Judge assigned to this action in arriving at a settlement

and compromise of the remaining plaintiffs' claims against LCI and Forrester, the 43 absent

plaintiffs' inexplicable abandonment of their claims has threatened the integrity of the judicial

process in a way which leaves this Court "no choice but to deny [those] plaintiff[s] its benefits."

Markwell, 878 F.2d at 902.

        Accordingly,

        IT IS ORDERED that the motion, filed on behalf of defendants, Labor Consultants

International, L.L.C. ("LCI") and Terry Forrester, to reconsider this Court's order dismissing the

claims of 43 of the plaintiffs without prejudice for failure to prosecute (Rec. Doc. No. 100) is

GRANTED and such order is hereby AMENDED to reflect that the claims of the plaintiffs named

therein are DISMISSED WITH PREJUDICE.

        New Orleans, Louisiana, July _______,
                                       26th 2005.


                                                    _________________________________
                                                           LANCE M. AFRICK
                                                    UNITED STATES DISTRICT JUDGE




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